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                    UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY
                          CAMDEN VICINAGE

                                              MDL No. 2875
  IN RE: VALSARTAN, LOSARTAN,
  AND IRBESARTAN PRODUCTS                     Honorable Robert B. Kugler,
  LIABILITY LITIGATION                        District Court Judge

                                              Honorable Joel Schneider,
  This Document Relates to All Actions        Magistrate Judge



  WHOLESALER DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT
               OF THEIR MOTION TO DISMISS




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                                   INTRODUCTION
        Plaintiffs have managed to turn what should be a basic product-recall,

  manufacturing defect claim into three complaints-worth-of legal conclusions that

  assert every conceivable theory against every conceivable defendant, with no

  specificity as to anyone. It is hard to imagine a tort or contractual theory or

  equitable remedy Plaintiffs fail to invoke on behalf of some purported class. Yet,

  Plaintiffs do not support their wide-ranging theories with factual allegations,

  particularly with regard to Wholesale pharmaceutical distributors (“Wholesalers”)

  – pass-through entities protected under most states’ laws as long as they do not

  alter the product they sell or have direct contact with consumers. The result is a

  tangled web of allegations and bare legal conclusions the Plaintiffs leave to the

  Court to sort out.

        As to Wholesalers, the task is straightforward. Many of Plaintiffs’ claims are

  expressly preempted or fall within FDA’s primary jurisdiction. Plaintiffs’

  assertions of fraud, deceptive practices, consumer protection and unfair trade

  violations, and unjust enrichment, are unsupported by any factual allegation of

  wrongdoing that, if proven, could establish such claims against Wholesalers.

  Plaintiffs’ personal injury and medical monitoring suits fail under Innocent Seller

  statutes and because Wholesalers do not manufacture the product. Finally,

  Plaintiffs’ contractual warranty claims fail because, as Plaintiffs’ pleadings


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demonstrate, Wholesalers made no warranties to Plaintiffs. In sum, Plaintiffs’

creative attempts to include all levels of the pharmaceutical supply chain through

novel legal assertions, unencumbered by actionable facts, fail to state claims as a

matter of law against Wholesalers, and, as a result, should be dismissed.

        FACTUAL BACKGROUND REGARDING WHOLESALERS

      Wholesalers play an integral but limited role as a pass-through in the

pharmaceutical    supply    chain;     Wholesalers    distribute   product   between

pharmaceutical Manufacturers and Pharmacy Defendants (“Pharmacies”), without

exercising any control over the manufacture or labeling of the products.1

Wholesalers do not in the normal course have any relationship or contact with

Pharmacies’ customers or consumers of the products.2 Wholesalers’ uniquely

insulated role in the supply chain means that many of Plaintiffs’ claims are

inapplicable to them and necessitates the dismissal of these claims.

      In particular, by virtue of Wholesalers’ position in the supply chain, there is

no privity between Plaintiffs and Wholesalers; Plaintiffs admit that Wholesalers do

not sell directly to them. See, e.g., PIMC. ¶¶ 127-128; MMMC ¶¶ 139-140. Nor do

Wholesalers make any representations directly to Plaintiffs. As such, any claims


1
 Repackagers are similarly situated with the exception of adding new packaging to
the products.
2
 https://www.hda.org/~/media/pdfs/communications/primary-pharmaceutical-
distributors.ashx?la=en

                                           2
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requiring privity between the parties must be dismissed, as discussed infra and

outlined in Wholesalers’ Compendium of Charts at Charts 6, 7, and 8.

                         ADOPTION OF ARGUMENTS
      Manufacturers’ Memorandum of Law in Support of their Motion to Dismiss

(“Mfrs.’ Mem.”), and Pharmacies’ Memorandum of Law in Support of their

Motion to Dismiss (“Pharmacies’ Mem.”), both present a number of grounds for

dismissal of all Complaints as against all Defendants, including Wholesalers.3

Therefore, in order to avoid repeating duplicative arguments for the Court’s

consideration, Wholesalers adopt and incorporate herein all arguments in those

Memoranda that provide grounds for dismissal of Wholesalers from Plaintiffs’

Complaints, specifically including Mfrs.’ Mem. Sections I, II, III, IV, and V of the

Argument and Pharmacies’ Mem. Section III. 4


3
  Wholesalers also reiterate Manufacturers’ position that a number of Defendants
not only seek dismissal for lack of subject matter jurisdiction under Rule 12(b)(1),
but would also move this Court to dismiss for lack of personal jurisdiction under
Rule 12(b)(2) but for the Court’s decision to exclude personal jurisdiction from its
order allowing Rule 12(b) motions. Though Defendants wish to respect the Court’s
decision, they must preserve their rights and defenses against waiver under Rule
12(h)(1)(A). Therefore, Wholesalers join Manufacturers’ request to grant leave to
file a supplemental 30-page memorandum addressing personal jurisdiction.
4
  Distributors and re-packagers are similarly situated to Wholesalers inasmuch as
they have no involvement in the manufacturing process; nor do they advertise or
make statements about generic drugs to consumers. Subject to their slightly
different roles with respect to packaging/labeling, all distributors and re-packagers
in the MDL join in Wholesalers’ arguments for dismissal, and in particular, adopt
the following brief sections by reference: I (B) and II-III.
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                                  ARGUMENT
      Wholesalers’ unique role means that they are shielded from products

liability as Innocent Sellers who serve as a mere conduit for products passing

between Manufacturers and Pharmacies. In addition, Wholesalers’ role in the

supply chain also means that Plaintiffs cannot meet the Article III standing

threshold for claims against those Defendants. Many of Plaintiffs’ claims are

expressly preempted by the Drug Supply Chain Security Act (“DSCSA”) or fall

within FDA’s primary jurisdiction. Finally, Plaintiffs’ ‘shotgun’ pleadings are

facially deficient and lacking facts sufficient to support the various elements of

Plaintiffs’ remaining claims against Wholesalers. For these and other reasons, the

Court should dismiss Plaintiffs’ Complaints against Wholesalers in their entirety.

I.     WHOLESALERS’ UNIQUE ROLE IN THE SUPPLY CHAIN
       AFFECTS PLAINTIFFS’ CLAIMS AGAINST THESE
       DEFENDANTS.
      Wholesalers do not design, manufacture, label, or test valsartan-containing

drugs (“VCDs”). Instead, Wholesalers’ role is limited to distribution, a

fundamental fact which Plaintiffs do not dispute. See, e.g., PIMC. ¶¶ 127-128;

MMMC ¶¶ 89, 139-140; ELMC ¶ 113, 186-187. Wholesalers purchase VCDs in

bulk directly from Manufacturers and then sell VCDs directly – unopened, in their

original Manufacturer bottles with labels created by Manufacturers and approved

by FDA – to Pharmacies, who then sell the VCDs to consumers. Pharmacies are


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reimbursed through complex TPP and Pharmacy Benefit Manager schemes that do

not affect Wholesalers’ compensation. Thus, Wholesalers are protected as Innocent

Sellers in a majority of states, and entitled to dismissal of product liability claims

against them. See Chart 1.

      A. Wholesalers are Innocent Sellers Protected From Products Liability
         Claims.
      As discussed in detail in Section III of Pharmacies’ Mem., which is adopted

herein, many states have recognized the fundamental unfairness of holding

Innocent Sellers who served as a mere conduit passing an unchanged product from

a seller to a buyer, such as Wholesalers here, liable for product liability when they

could not and did not exercise any control over the design, formulation,

manufacture, or labeling of VCDs. These laws “immunize innocent sellers who are

not actively negligent, but instead are mere conduits of a product.” Nazari v.

Kohler Co., No. 07-50188, 2008 U.S. App. LEXIS 21531, at *9 (5th Cir. Oct. 13,

2008) (explaining the purpose of Texas’s Innocent Seller statute is “to avoid

holding an innocent seller liable for a defective product manufactured by

another”); Ruiz v. Wintzell's Huntsville, L.L.C., No. 5:13-cv-02244-MHH, 2017

U.S. Dist. LEXIS 159547, at *22 (N.D. Ala. Sep. 28, 2017) (“The purpose of

Alabama’s innocent seller statute . . . is to protect distributors who are mere

conduits of a product, presumably because they are not positioned to inspect for

product defects already extant when the products come into the distributor’s

                                          5
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possession.”); Miss. Code Ann. § 11-1-63 (explaining, in Mississippi’s Innocent

Seller statute, that the intent of the statute is “to immunize innocent sellers who are

not actively negligent, but instead are mere conduits of a product”).

      The majority of Innocent Seller statutes call for the dismissal of all product

liability claims, no matter the specific cause of action or theory alleged. There are

generally three requirements to establish entitlement to dismissal under an

Innocent Seller statute. First, the product’s manufacturer be identified.5 Here, the

applicable Manufacturers are already parties to this litigation, and each Plaintiff or

Class Representative will be able to conclusively identify the Manufacturer of the

VCD purchased and/or consumed through pharmacy records and NDC numbers.

Second, an Innocent Seller must not have modified, altered, or exerted control over

the design, manufacture, or labeling of the product. Plaintiffs’ allegations make

clear that the design, testing, manufacturing, packaging, and labeling of the product

– and, indeed, the alleged contamination of VCDs – occurred before Wholesalers


5
   Two states, Missouri and New Jersey, require submission of an affidavit
identifying the manufacturer. These rules are procedural, not substantive, and thus
not a barrier to dismissal under Rule 12(b)(6) in federal court. See Crosby v.
Georgakopoulos, 2005 U.S. Dist. LEXIS 32238, *23 (D.N.J. June 24, 2005)
(granting the defendant’s motion to dismiss where the defendant was clearly not
the manufacturer of the product at issue); Thomas v. Brown & Williamson Tobacco
Corp., 2006 U.S. Dist. LEXIS 28261 (W.D. Mo. Apr. 28, 2006) (finding that “this
statute has been held to be substantive, rather than a procedural device, and
therefore [the innocent seller statute] is applicable in federal court” and finding
joinder of a seller to be fraudulent).

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ever purchased the products, and there are no allegations that Wholesalers altered

or modified the product. See PIMC ¶¶ 236-247. Thus, Wholesalers clearly fulfill

the first and second elements to obtain Innocent Seller statute protection.

      Finally, as set forth in Pharmacies’ Mem. Section II.B.2, which is

incorporated fully herein, the Innocent Seller must not have actual or constructive

knowledge of the defect at issue. Here, Plaintiffs acknowledge the defect alleged

was not obvious – it is a microscopic contaminant not visible to the naked eye,

even in an opened container. Plaintiffs do not plausibly allege that Wholesalers had

actual knowledge of VCDs’ contamination before the recalls. To the contrary,

Plaintiffs allege that Manufacturers intentionally concealed and destroyed evidence

of contamination.6 Plaintiffs provide no support for their allegations that

Wholesalers somehow must have known about this allegedly concealed, destroyed

information. Moreover, Plaintiffs do not allege facts that would have put

Wholesalers on constructive notice of actual contamination in VCDs, as opposed

to the possibility of problems at certain Chinese/Indian manufacturing facilities.

Because Wholesalers are entitled to the protections of various Innocent Seller laws,

they are entitled to dismissal of Plaintiffs’ claims in the states outlined in Chart 1.




6
  Wholesalers disclaim any agreement or endorsement of Plaintiffs’ allegations in
this regard.

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      B. Plaintiffs Lack Standing to Sue the Entire Supply Chain and Do Not
         Allege Injury-in-Fact in Relation to Wholesalers.

      In addition to incorporating the arguments in Section II of Mfrs.’ Mem. on

Article III standing, Wholesalers’ unique position in the supply chain also means

that Plaintiffs cannot meet the Article III standing threshold for claims against

them. For any Plaintiff to have Article III standing to sue Wholesalers, that

Plaintiff must allege facts showing a substantial likelihood that Wholesalers’

conduct caused the plaintiff’s harm. Pub. Interest Research Grp. v. Powell Duffryn

Terminals, 913 F.2d 64, 72 (3d Cir. 1990). Unless that alleged harm “fairly can be

traced to the challenged action” of Wholesalers, standing does not exist. Lujan v.

Defenders of Wildlife, 504 U.S. 555, 560 (1992) (quoting Simon v. E. Ky. Welfare

Rights Org., 426 U.S. 26, 41-42 (1976)); Whitmore v. Arkansas, 495 U.S. 149, 155

(1990); Winer Family Trust v. Queen, 503 F.3d 319, 325 (3d Cir. 2007).

      Plaintiffs have not alleged any facts suggesting that Wholesalers’ conduct

caused Plaintiffs’ alleged harm, or caused with substantial likelihood the alleged

harm, whether stated as personal injury, the need for medical monitoring, or

economic loss in the various Complaints. Plaintiffs do not allege that, but for

Wholesalers’ conduct, the alleged contamination would not have occurred, that

Plaintiffs would not have purchased and/or consumed allegedly contaminated

VCDs, or that Wholesalers’ actions were a substantial factor in the alleged

contamination or consumption. Nor are there facts regarding Wholesalers in any of

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the Complaints that would support those allegations, if they existed. Furthermore,

even a theory of causation related to Wholesalers’ imagined control over

Manufacturers’ practices – allegations that hinge on Wholesalers possessing “a

degree of influence over [others] that was not plausible on the limited allegations

in the Complaint[s]” – does not establish standing because the required causal

connection and traceability between the alleged harm and the conduct are not

present. Sherfey v. Johnson & Johnson, No. 12-4162, 2014 U.S. Dist. LEXIS

57735, at *14-15 (E.D. Pa. Apr. 25, 2014) (dismissing defendants with prejudice

because they did not have influence over J&J’s recall decisions nor knowledge of

the specific defects in the Infants’ Tylenol) (citing In re McNeil Consumer

Healthcare, et al., Mktg. and Sales Litig., MDL No. 2190, 2011 U.S. Dist. LEXIS

76800, 2011 WL 2802854, at *1 (E.D. Pa. July 15, 2011); Moore v. Johnson &

Johnson, 83 F. Supp. 3d 629 (E.D. Pa. 2014)).

      Here, Wholesalers did not design, formulate, or manufacture VCDs and do

not have influence or control over the manufacturing practices of the API or

Finished Dose Manufacturing Defendants. Wholesalers are not capable of testing

the billions of different pills that they transport each year, nor is there any state law

duty or federal regulatory requirement to do so. See Temporomandibular Joint

Implant Recipients v. E.I. Du Pont De Nemours & Co. (In re Temporomandibular

Joint Implants Prods. Liab. Litig.), 97 F.3d 1050, 1059 (8th Cir. 1996) (“[A]


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 distributor, acting as a mere conduit of a product, is only liable for known dangers.

 If a product has at most a latent defect, ‘there is no duty on the distributor to

 inspect for possibly inherent defects.’”) (quoting American Law of Products

 Liability 3d § 5.23, at 43-44 (Matthew J. Canavan, ed. pt. 3, 1994). Any testing

 requirements lie with Manufacturers and FDA, as does the development of the

 pharmaceutical labels. Wholesalers have no plausible degree of influence over the

 manufacture or the contents of the product or labeling sufficient to establish a

 causal connection. And Plaintiffs have not alleged any facts suggesting that, but for

 Wholesalers’ conduct, the alleged contamination would not have occurred or that

 the Plaintiffs would not have purchased and/or consumed VCDs. Thus, Plaintiffs

 do not have standing to sue Wholesalers, and their claims must be dismissed.

II.      PLAINTIFFS’ CLAIMS AGAINST WHOLESALERS ARE
         PREEMPTED UNDER THE DRUG SUPPLY CHAIN SECURITY
         ACT (DSCSA) AND/OR SUBJECT TO PRIMARY JURISDICTION.
       Plaintiffs’ claims that allege a failure of Wholesalers to adequately track or

 trace product through the supply chain are expressly preempted by the DSCSA and

 should be dismissed. Additionally, any claims that assert that Wholesalers’ failure

 to test VCDs allowed contaminated product to be sold to consumers – such as

 Plaintiffs’ causes of action for breach of implied warranty, strict liability failure to

 warn consumers, negligent misrepresentation, and certain negligence and




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manufacturing defect claims – invade the province of the FDA and primary

jurisdiction applies.

      A. Plaintiffs’ Claims Against Wholesalers Are Preempted Under the
         DSCSA.
      In 2013, Congress passed the DSCSA in an effort to secure the supply chain

for prescription pharmaceutical drugs. The DSCSA is intentionally broad and

comprehensive, governing all participants in the supply chain for prescription

pharmaceutical drugs, from manufacturers to retail pharmacies. 21 U.S.C. § 360eee

to 360eee-5. To combat the patchwork of inconsistent state requirements prior to

the enactment of the DSCSA, Congress mandated that the DSCSA be a uniform

national standard. To effectuate this uniform national standard, Congress included

an express preemption provision that specifically precludes imposition of any state

requirements that are “inconsistent with, more stringent than, or in addition to” the

DSCSA:

      Beginning on November 27, 2013, no State or political subdivision of
      a State may establish or continue in effect any requirements for
      tracing products through the distribution system (including any
      requirements           with          respect         to          statements
      of distribution history, transaction                   history, transaction
      information, or transaction statement of a product as such product
      changes         ownership         in        the       supply          chain,
      or verification, investigation, disposition, notification,                or
      recordkeeping relating to such systems, including paper or electronic
      pedigree systems or for tracking and tracing drugs throughout
      the distribution system) which are inconsistent with, more stringent



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      than, or in addition to, any requirements applicable under . . . this part
      (or regulations issued thereunder) . . .7.

21 U.S.C. 360eee-4(a). This preemption covers any claim that Wholesalers were

negligent for failing to track VCDs by lot number as product tracking is not

required by the DSCSA.

      B. Plaintiffs’ Claims Fall Within FDA’s Primary Jurisdiction.
      As discussed in detail in Section III of Mfrs.’ Mem., which is adopted herein

in its entirety, the FDA oversees compliance with and enforcement of the FDCA,

and is vested with broad and exclusive authority to promulgate regulations, provide

guidance, and undertake enforcement actions. See 21 U.S.C. §§ 321, 337(a), 371-

72, 375, 393(a). Primary jurisdiction applies “whenever enforcement of the claim

requires the resolution of issues which, under a regulatory scheme, have been

placed within the special competence of an administrative body.” Fulton

Cogeneration Assocs. v. Niagara Mohawk Power Corp., 84 F.3d 91, 97 (2d Cir.

1996) (citing United States v. Western Pac. R.R. Co., 352 U.S. 59, 64, 77 S.Ct.

161, 165, 1 L.Ed.2d 126 (1956)). When an activity is arguably subject to an

administrative agency’s expertise, such as the FDA, federal courts must defer to


7
 The two ellipses reference requirements for wholesaler and third-party logistics
providers, as does subsection (b) of 21 U.S.C. 360eee-4. “This part” refers to all of
the Drug Supply Chain Security Act, 21 360eee through eee-4. The Public Law
version of the Act uses the term “this subchapter,” which references Subchapter H,
which includes definitions (360eee) and specific requirements (360eee-1). P.L.
113-54.

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the exclusive competence of that agency. In re Human Tissue Prod. Liab. Litig.,

488 F. Supp. 2d 430, 432 (D.N.J. 2007). The FDA has broad statutory power to

regulate drug sourcing, manufacturing, packaging, labeling, testing, tracing and

sales and has done so exhaustively. See Code of Federal Regulations Title 21,

Chapters 1-1499. The FDA’s Center for Drug Evaluation and Research (CDER) is

tasked with ensuring that safe and effective drugs are available to improve the

health of the people in the United States.8 FDA is in the best position to evaluate

Plaintiffs’ allegations regarding testing, as those assertions squarely invoke FDA’s

prescribed testing procedures and requirements.

         Plaintiffs’ causes of action for breach of implied warranty, strict liability

failure to warn consumers, negligent misrepresentation, and certain negligence and

manufacturing defect claims that rely on the allegation that Wholesalers failed to

test should thus be dismissed because they invade the province of the FDA and

primary jurisdiction applies. See, e.g., Heller v. Coca-Cola Co., 230 A.D.2d 768,

769, 646 N.Y.S.2d 524, 525 (1996) (finding that primary jurisdiction applied to the

plaintiffs’ tort claims regarding alleged mislabeling, which was in the province of

the FDA). Because the enforcement of the FDCA and the regulatory framework

regarding product testing are within the exclusive authority of the FDA, all of



8
    FDA, Drugs (6/03/2020), https://www.fda.gov/drugs.

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  Plaintiffs’ claims must fail as all are premised on the alleged failure by

  Wholesalers to conduct testing.

III.     PLAINTIFFS’ REMAINING CLAIMS ARE NOT ADEQUATELY
         PLED OR LEGALLY VIABLE AND SHOULD BE DISMISSED.
        For the reasons stated in Section V of Mfrs.’ Mem. and incorporated herein,

  Plaintiffs’ remaining claims should be dismissed due to their failure to state a claim

  on their face and pleading defects. Moreover, additional issues exist that support

  the dismissal of these claims against Wholesalers in particular.

        A. Plaintiffs Do Not Plead a Legally Viable Unjust Enrichment Claim
           Against Wholesalers.
        With respect to Plaintiffs’ unjust enrichment claims, Wholesalers adopt the

  reasons set forth in Mfrs.’ Mem. Section V.F. and Pharmacies’ Mem. Section

  II.B.4., all of which are incorporated herein. Plaintiffs’ unjust enrichment claims

  further fail against Wholesalers in particular because Plaintiffs do not allege

  improper enrichment by Wholesalers at the expense of Plaintiffs. Wholesalers are

  alleged to have sold VCDs to Pharmacies and there is no allegation that

  Wholesalers had knowledge of alleged contamination of those VCDs pre-recall or

  that they sold any recalled VCDs. It is fundamental, then, that any sort of claim

  that payment to Wholesalers by Pharmacies was somehow unjust – or more

  particularly, unjust as to Plaintiffs who should receive Wholesalers’ profits as a

  result– fails due to the dearth of allegations sufficient to invoke the claim. See


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Chart 2. Unjust enrichment is an equitable theory that rests on the occurrence of

some wrongdoing that makes the defendant’s retention of remuneration unfair.

Albinger v. Harris, 48 P.3d 711, 716 (Mont. 2002) (“The doctrine of unjust

enrichment is an equitable means of preventing one party from benefitting by his

or her wrongful acts, and, as such requires a showing of misconduct or fault to

recover.”); In re: Cheerios Mktg. & Sales Practices Litig., Civil Action No. 09-cv-

2413, 2012 U.S. Dist. LEXIS 128325, at *35-38 (D.N.J. Sep. 10, 2012). Plaintiffs

do not allege any such wrongdoing or unfairness by Wholesalers.

      Wholesalers, of course, were not in privity with Plaintiffs and the unjust

enrichment claim cannot survive the fact that Plaintiffs fail to allege any direct

benefit provided to Wholesalers. In re Rezulin Prods. Liab. Litig., 392 F. Supp. 2d

597, 619–21 (S.D.N.Y. 2005) (dismissing unjust enrichment claim due to lack of

privity, a necessary element of an unjust enrichment claim under New Jersey law);

see Chart 3.

      Even putting aside Wholesalers’ position vis-à-vis Plaintiffs, in many

jurisdictions, to establish unjust enrichment, there must be a failure of

remuneration. Adamson v. Ortho-McNeil Pharm., Inc., 463 F. Supp. 2d 496, 505

(D.N.J. 2006). “Unjust enrichment is not a viable theory… in circumstances in

which a consumer purchases specific goods and receives those same specific

goods.” In re: Cheerios Mktg. & Sales Practices Litig., at *36-37 (D.N.J. Sep. 10,


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2012), citing, Adamson v. Ortho-McNeil Pharm., Inc., 463 F. Supp. 2d 496, 505

(D.N.J. 2006); see also, Hoffman v. Cogent Sols. Grp., LLC, 2013 U.S. Dist.

LEXIS 176056, at *13 (D.N.J. 2013). Here, Plaintiffs’ Complaints demonstrate

they specifically purchased and received VCDs. Unjust enrichment is unavailable.

      Finally, many states prohibit unjust enrichment claims where there is an

adequate remedy at law. See Charts 4, 5. Plaintiffs do not allege that they lack an

adequate remedy at law.9 To the contrary, Plaintiffs’ Economic Loss Master

Complaint (ELMC) alleges an array of remedies at law, and it is undisputed the

CVDs were sales of goods. For all of the foregoing reasons, Plaintiffs’ unjust

enrichment claims against Wholesalers should be dismissed in their entirety.

      B. Plaintiffs Do Not Plead Facts Supporting Their Unjust Enrichment
         Damages Claims Against Wholesalers.
      The ELMC claims Plaintiffs paid for defective VCDs. It does not aver a

factual basis for anything more than reimbursement of the specific cost of the

drugs paid by customers. The law is clear that such claims for consequential

damages and disgorgement should be stricken as unfounded.10


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  In addition to many states’ prohibitions of unjust enrichment claims where there
is an adequate remedy at law, many states mandate dismissal of an unjust
enrichment claim if the plaintiff fails to plead the absence of an adequate remedy
at law, as here. See Chart 4.
10
  Wholesalers do not concede that Plaintiffs are even entitled to reimbursement
and reserve the right to address this later in this ligation should the unjust
enrichment claim survive this motion practice.

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      Under the Restatement (Third) of Restitution and Unjust Enrichment (2011),

an “Innocent Recipient” (§50) or a “Faultless Recipient” (§51)(1) cannot be liable

as a matter of law for damage elements such as consequential damages, costs, or

disgorgement. An “innocent recipient” is one who receives enrichment by mistake

or who intentionally entered into the transaction at issue, but acted without any

fault when the transaction went awry. §50 at Comment C. A “faultless but

wrongful recipient,” does not act with fault, but an otherwise legally actionable

right may have been interfered with. §51 at Comment A. Pursuant to this, the only

damages permitted against Wholesalers are, respectively, “reasonable value” of the

benefit conferred (§51 Comment D11) or 1) “market value” of the benefit

conferred, 2) interest, and 3) “proceeds as necessary to avoid unjust enrichment

but…[not]…consequential gains.” §51(2) and 53(1-3). Thus an innocent recipient

is responsible for neither proceeds nor consequential gains.

      Plaintiffs fail to aver facts that Wholesalers are anything more than “faultless

recipients” or “innocent recipients” and are, as a matter of law, not liable for

consequential damages, costs, interest or disgorgement.

      C. There is No State Law Duty That Wholesalers Test VCDs.


11
  The innocent recipient provisions differentiate between defendants who received
the benefit by mistake versus those who intentionally intended to enter into the
transaction. The law cited herein is the standard for those innocent recipients who
intended to enter into the transaction.

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      Plaintiffs attempt to base a number of causes of action, in whole or in part,

on an allegedly negligent “failure to test.” It is axiomatic that without a duty there

can be no negligence. Courts have consistently held there is no duty to test a

product independent of the design, manufacture, or labeling of the product. See,

e.g., Drager v. PLIVA USA, Inc., 741 F.3d 470, 477 (4th Cir. 2014); Kociemba v.

G.D. Searle & Co., 707 F. Supp. 1517, 1527-28 (D. Minn. 1989); Wolfe v. McNeil-

PPC, Inc., 773 F. Supp.2d 561, 570 (E.D. Pa. 2011). It is undisputed Wholesalers

did not design, manufacture, or prepare the warnings for the VCDs. Accordingly,

Wholesalers could not have had a duty to test the VCDs and no cause of action

against the Wholesalers, regardless how it is captioned, can be based on any

alleged failure to test. At a minimum, that includes Plaintiffs’ causes of action for

breach of implied warranty, strict liability failure to warn, negligent

misrepresentation, and certain negligence and manufacturing defect claims, all of

which are premised on the theory that Wholesalers’ alleged failure to test VCDs

allowed contaminated product to be sold to consumers.

      D. Plaintiffs’ Breach of Express and Implied Warranty Claims Fail.

      For the reasons set forth in Section V of Mfrs.’ Mem. and incorporated

herein, all of Plaintiffs’ claims for breach of express and implied warranties fail to

state a claim as to Wholesalers and should be dismissed. Plaintiffs do not identify a

warranty or representation because: (1) they do not allege privity as required by


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certain states; (2) they do not allege the existence of an affirmation of fact or

promise made by Wholesalers as required under UCC § 2-313 and 2-314; and (3)

they do not allege reliance as required by certain states. For these reasons the Court

should dismiss all express and implied warranty claims against Wholesalers.

               1. Plaintiffs Do Not and Cannot Allege Privity with
                  Wholesalers.
      Plaintiffs’ breach of implied and express warranty claims should be

dismissed for lack of privity. Privity is required for express or implied warranties

under the laws of numerous states. See Charts 6. 7. Plaintiffs have not alleged and

cannot allege privity with Wholesalers as required by certain states in order to state

a claim for express or implied warranty. The Court should dismiss Plaintiffs’

breach of warranty claims where privity is a required element.

               2. Plaintiffs Do Not and Cannot Allege Any Express
                  Affirmation or Promise Made by Wholesalers.
      Plaintiffs do not plead that Wholesalers made any promise, affirmation, or

representation regarding the VCDs at issue in this litigation. Of course they do not

– Wholesalers have no contact whatsoever with Plaintiffs (or any consumers).

Wholesalers do not manufacture or sell the product to Plaintiffs nor do they make

any warranties whatsoever to Plaintiffs. See, e.g., PIMC ¶ 128. Plaintiffs allege

only boiler-plate conclusions about warranties directed to “Defendants”

collectively and do not single out any specific representation by any Wholesaler.


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See, e.g., ELMC ¶ 8, 11-34. These vague and undifferentiated allegations are

insufficient to demonstrate that any Wholesaler made an affirmation, promise, or

description about the product to Plaintiffs. See Arlandson v. Hartz Mountain Corp.,

792 F. Supp. 2d 691, 707 (D.N.J. 2011) (dismissing express warranty claim

because the plaintiff failed to “identify specific affirmations or promises by

Defendants”).

                3. Plaintiffs Do Not Allege that an Express Warranty Formed
                   the Basis for Any Bargain.
      Section 2-313 of the UCC requires reliance by a plaintiff, i.e. that a seller’s

statement is “part of the basis of the bargain.” See, e.g., Coffey v. Dowley Mfg.,

Inc., 187 F. Supp. 2d 958, 969 (M.D. Tenn.2002), aff'd, 89 F. App’x 927 (6th Cir.

2003) (finding that to establish a prima facie claim for breach of express warranty

a plaintiff must prove “that the buyer was in fact induced by the seller’s acts”);

Global Truck & Equip. Co. v. Palmer Mach. Works, Inc., 628 F.Supp. 641, 651–52

(N.D. Miss. 1986) (finding that buyer could not recover for breach of express

warranty absent proof that buyer relied on statements prior to or

contemporaneously with sale); see also Chart 8. As set forth in Section V of Mfrs.’

Mem., Plaintiffs allege no express warranties, so it follows that none can fairly be

alleged against Wholesalers. No express warranty by any Wholesaler formed the

basis of any bargain, and Plaintiffs’ express warranty claims should be dismissed.



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               4. Plaintiffs Do Not Allege the Injury Required to Support a
                  Claim of Breach of Implied Warranty.

      To sustain a claim of breach of implied warranty Plaintiffs must plead

impaired functionality of the VCDs caused an actual injury to Plaintiffs. See, e.g.,

Hoffman v. Nutraceutical Corp., No. CIV.A. 12-5803 ES, 2013 WL 2650611, at

*4 (D.N.J. June 10, 2013) (breach of implied warranty claim requires that the

alleged “defect proximately caused injury to the ultimate consumer”) (internal

citations omitted); Bowman v. RAM Med., Inc., No. I O-CV-4403 DMC MF, 2012

WL 1964452, at *5 (D.N.J. May 31, 2012) (“Plaintiffs fail to assert any injury, and

in fact disclaim any physical harm, resulting from the product. . . . Plaintiffs can

sustain neither a claim of breach of implied warranty of merchantability nor fitness

for a particular purpose”); Crozier v. Johnson & Johnson Consumer Companies,

Inc., 901 F. Supp. 2d 494, 509 (D.N.J. 2012) (dismissing implied warranty claims

that “contain no allegations whatsoever about any injuries that Plaintiffs

sustained,” noting that “establishing a breach of the implied warranties of

merchantability . . . requires a showing regarding the product's functionality.”)

      As set forth in Section V of Mfrs.’ Mem., Plaintiffs do not allege the VCDs

did not work to lower their blood pressure, or make any allegations of impaired

functionality of VCDs causing actual injury (physical or otherwise) resulting from

the ingestion of the VCDs. Plaintiffs’ claims for breach of implied warranty should

therefore be dismissed.

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       E. Plaintiffs’ Fraud Claims Against Wholesalers Do Not Meet the
          Heightened Pleading Standard for Fraud Claims.

       Wholesalers assert and incorporate the arguments against Plaintiffs’ fraud

claims in Section V of Mfrs.’ Mem. Additionally, Plaintiffs fail to allege that

Wholesalers had any knowledge of the purported product defects, and fail to plead

any factual allegations demonstrating reliance by Plaintiffs on any alleged

intentional misrepresentation or omission made by Wholesalers. Finally, Plaintiffs

do not allege facts demonstrating any special relationship between Wholesalers

and Plaintiffs giving rise to a duty to disclose.

             1. Plaintiffs Do Not Plead the Specifics of Any Alleged
                Fraudulent Statement or Misrepresentation on Which They
                Purportedly Relied.
       As discussed in Section V of Mfrs’. Mem., Plaintiffs do not allege,

specifically or otherwise, the ‘who, what, where, or when’ of any purportedly

fraudulent representation by Wholesalers. Instead the Complaints allege generally

that “each Defendant” collectively made fraudulent or misleading representations,

but mention no specific facts regarding intentional misrepresentations or omissions

made by Wholesalers in particular. ELMC ¶ 365, 493; see also, e.g., MMMC ¶

322.

       In fact, Plaintiffs do not inject any precision into the Complaints that would

make Wholesalers aware of the “precise misconduct with which [they are]

charged.” Frederico v. Home Depot, 507 F.3d 188, 200 (3d Cir. 2007).

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Consequently, Plaintiffs’ allegations come nowhere near the level of specificity

required to plead fraud against Wholesalers and should be dismissed.

               2. Plaintiffs Do Not Allege that Wholesalers Knew of the
                  Alleged Defects.
      Plaintiffs’ Complaints similarly include no factual allegations in support of

their assertions that Wholesalers “knew, or reasonably should have known, that

their misrepresentations were material false or misleading, or that the omission of

material facts rendered such representations false or misleading.” ELMC ¶ 496.

For that reason, as well as those set forth in Section V of Mfrs.’ Mem, the Court

should dismiss Plaintiffs’ fraud claims against Wholesalers for failing to

adequately plead knowledge on the part of Wholesalers.

               3. Plaintiffs Do Not Plead Reliance by the Class.

      As an essential element of fraudulent misrepresentation, a plaintiff must

allege reliance on the specific false statement or misrepresentation. See Frederico,

507 F.3d at 200 (“To state a claim for fraud under New Jersey law, a plaintiff must

allege . . . a material misrepresentation of fact; . . . [and] reasonable reliance

thereon by the other person). The element of reliance, like all other elements of

fraud, must be pled with particularity. See, e.g., Latraverse v. Kia Motors of Am.,

Inc., No. 10-6133 (RBK/AMD), 2011 WL 3273150, at *4 (D.N.J. July 27, 2011)

(dismissing the plaintiff’s common law fraud claim, in part, because “[t]he

Complaint d[id] not allege . . . reasonable reliance with particularity.”); Witriol v.

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Conexant Syst., 2006 WL 3511155, at *7 (D.N.J. Dec. 4, 2006) (dismissing fraud

claim where the plaintiff “fail[ed] to plead facts probative of actual reliance on

specific statements” and therefore, “the allegations of reliance [we]re cursory and

general, lacking the specificity that the Third Circuit requires to state a claim”; see

also Learning Works, Inc. v. Learning Annex, Inc., 830 F.2d 541, 546 (4th Cir.

1987) (noting that “reliance must be pleaded with particularity” and concluding

that plaintiff’s “fraud claim was subject to dismissal” for failure to allege the

requisite reliance); Scansource, Inc. v. Datavision-Prologix, Inc., et al., No. Civ.A.

04-CV-4271, 2005 WL 974933, at *2 (E.D. Pa. Apr. 26, 2005) (collecting cases

and noting that “the clear weight of authority requires that the detrimental reliance

of a fraud claim be pleaded with particularity under Rule 9(b).”).

      Here, however, Plaintiffs’ claims fail to link the alleged reliance of Plaintiffs

as a class to any particular fraudulent statement or misrepresentation by

Wholesalers and do not properly plead the requisite reliance on any particular false

statement or misrepresentation. See, e.g., MMMC ¶ 483; ELMC ¶¶ 513-14.

                4. Plaintiffs Have Not Alleged Any Duty to Disclose Owed by
                   Wholesalers.
      Plaintiffs’ fraud claims based on concealment fail for the additional reason

that they have not alleged that Wholesalers owed the requisite duty to disclose by

virtue of a fiduciary or trust-based relationship between the parties. Critically,

“‘New Jersey courts will not imply a duty to disclose’ in a case alleging fraudulent

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concealment.” Arcand v. Brother Int’l Corp., 673 F. Supp. 2d 282, 305 (D.N.J.

2009) (quoting Lightning Lube, Inc. v. Witco Corp., 4 F.3d 1153, 1185 (3d Cir.

1993). Such a duty arises only in: (1) fiduciary relationships, such as principal and

agent, client and attorney, or beneficiary and trustee; (2) relationships where one

party expressly reposits trust in another party; and (3) relationships involving

intrinsically fiduciary transactions requiring a degree of trust to protect the parties.

Id. (quoting Lightning Lube, 4 F.3d at 1185). Plaintiffs have not alleged any such

special relationship. In fact, Plaintiffs’ ELMC illustrates that no relationship of any

kind exists between Plaintiff consumers and Wholesalers. See, e.g., ELMC ¶ 151.

Plaintiffs do not, and indeed, cannot, include facts alleging that a fiduciary

relationship exists between Plaintiffs and Wholesalers. Arcand, 673 F. Supp. 2d at

305. The Court also should dismiss Plaintiffs’ claims of fraudulent concealment

and omission.

      F. Plaintiffs Do Not Allege Facts to Support Negligent
         Misrepresentation/Omission Claims Against Wholesalers.

      Plaintiffs’ Complaints do not allege that Wholesalers negligently

misrepresented (or omitted) any facts to Plaintiffs. Instead, Plaintiffs allege that all

Defendants “made untrue representations of material facts and/or omitted material

information to Plaintiffs, Plaintiffs’ physicians, and the public at large,” but do not

identify any supporting facts specific to Wholesalers. See PIMC ¶ 513. Plaintiffs

further allege that “Defendants were negligent” in making the unidentified

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purported misrepresentations, but make no allegation specific to any Wholesaler.

Id. ¶ 516. These vague allegations are insufficient to state a claim as to

Wholesalers. See, e.g., Greencort Condo. Ass'n v. Greencort Partners, No. 04045

JAN.TERM 2004, 2004 WL 1088758, at *1 (Pa. Com. Pl. Apr. 30, 2004)

(dismissing the plaintiff’s negligent misrepresentation claim for failure to plead

sufficient facts to state a claim including regarding any misrepresentation of

material fact).

      Plaintiffs’ bare allegations also do not contain facts sufficient to support an

ascertainable loss or injury sustained as a result of Wholesalers’ alleged negligent

misrepresentations. In cases involving breach of contract or misrepresentation,

courts have required an estimate of out-of-pocket loss or loss in value to meet the

ascertainable loss hurdle. See Henderson v. Hertz Corp., No. A-3776-03, 2005 WL

4127090, at *7-8 (N.J. Super. Ct. App. Div. 2005) (citing Thiedemann v.

Mercedes-Benz USA, LLC, 183 N.J. 234, 238, (2005)); see also Hoffman v.

Nutraceutical Corp., No. 12-5803 (ES), 2013 WL 2650611, at * (D.N.J. June 10,

2013) (noting that the “requirement to show a demonstration of loss in value . . .

requires . . . that the customer was misled into buying a product that was ultimately

worth less to the customer than the product he was promised.”) (internal quotations

omitted). Plaintiffs do not meet this burden.




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      While Plaintiffs allege that they suffered harm as a result of Defendants’

misrepresentations (see, e.g., PIMC ¶ 518; ELMC ¶ 524), Plaintiffs do not allege

facts to support their boiler-plate allegations or to show that they suffered an

economic loss or injury. See, e.g., Mason v. Coca-Cola Co., 774 F. Supp. 2d 699,

705 (D.N.J. 2011) (dismissing the plaintiffs’ misrepresentation claims because they

lacked facts showing how plaintiffs experienced any loss); Solo v. Bed Bath &

Beyond, Inc., Civ. 06–1908(SRC), 2007 WL 1237825, at *3 (D.N.J. Apr. 26,

2007) (“Plaintiff has failed to set forth either an out-of-pocket loss or a

demonstration of loss in value sufficient to satisfy the ascertainable loss

requirement.”).

      Finally, multiple states limit negligent misrepresentation claims to situations

involving actual privity of contract between the parties, or a relationship close

enough to approach privity, and Plaintiffs do not allege facts to support privity

with Wholesalers. See Chart 9.

      G. Plaintiffs Do Not Allege Any Facts Showing Negligence by
         Wholesalers.
      Plaintiffs’ negligence claims do not allege specific facts showing negligence

on the part of any Wholesaler; instead, Plaintiffs lump Wholesalers in with all

other Defendants in this action, noting that they are separate and distinct entities

(PIMC ¶ ¶ 125 – 128), but failing to allege any negligence by Wholesalers that led

to harm suffered by Plaintiffs. Plaintiffs generically assert that “[e]ach distributor

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defendant is obligated under the DSCSA to quarantine and investigate potentially

illegitimate (including adulterated and/or misbranded) drugs.” PIMC ¶ 388.

Importantly, however, Plaintiffs fail to plead a breach of this duty by Wholesalers

and do not plead any facts related to an alleged breach of this duty by Wholesalers

that actually caused harm to Plaintiffs. It is not enough to merely allege that

Wholesalers were in the supply chain without also alleging a specific breach of a

specific duty causing injury; the negligence claims should be dismissed.

      H. Plaintiffs Do Not Plead a Viable Cause of Action for State Consumer
         Fraud.
      Plaintiffs assert claims against “each Defendant” for “unfair competition or

unfair or deceptive acts or practice” in violation of consumer protection statutes in

all 50 states. ELMC ¶¶ 543-554; PIMC ¶¶ 524-574. Plaintiffs then claim in

conclusory fashion that “each Defendant knew, intended, or should have known,

that their fraudulent and deceptive acts, omissions, or concealment would induce

reliance and that reliance can be presumed under the circumstances[,]” (ELMC ¶

548) and that Defendants’ “course of fraudulent conduct and fraudulent

concealment constituted acts . . . in violation of the consumer protection statutes . .

. .” PIMC ¶ 575. (emphasis added)

      Plaintiffs’ claims for alleged violations of consumer protection statutes are

subject to the same heightened pleading standard of Fed. R. Civ. P. 9(b) applicable

to Plaintiffs’ fraud claims, as discussed supra and in Section V of Mfrs’ Mem. See

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Mickens v. Ford Motor Co., 900 F. Supp. 2d 427, 435 (D.N.J. 2012). As with their

fraud claims, Plaintiffs fail to provide the specificity required by Rule 9(b) to state

an actionable claim for a violation of any consumer protection statute against

Wholesalers. Plaintiffs’ generic allegations that Defendants collectively engaged in

unspecified “unfair or deceptive acts” or practices do not identify the ‘who, what,

where, or when’ of these allegedly fraudulent, unfair, and/or deceptive acts and

practices by Wholesalers. See, e.g., ELMC ¶¶ 113-120, 411; PIMC ¶¶ 113-120.

Without those necessary details, Plaintiffs’ consumer fraud claims fail.

      I. The PI Complaint Does Not Allege Any Facts That Would Justify
         Punitive Damages.
      As set forth in Section V of Mfrs.’ Mem., the PIMC does not state a

plausible claim for punitive damages. Plaintiffs generically aver that Defendants

collectively “knew, and/or had reason to know,” that the VCDs ingested by

Plaintiffs were unsafe or contained carcinogenic compounds. PIMC ¶¶ 414-15.

Plaintiffs do not, however, allege any non-conclusory facts demonstrating that

Wholesalers specifically knew of the alleged defects, which stem entirely from the

manufacturing and design of VCDs.

      Plaintiffs acknowledge Wholesalers’ limited role in the supply chain and

their lack of contact with Plaintiffs. Id. ¶¶ 126-28. Plaintiffs’ PIMC contains no

facts to support the allegation that Wholesalers were linked in any way to the

manufacturing or design processes, or were privy to any knowledge about such

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processes. Of course, without knowledge of the alleged manufacturing and design

defects, Wholesalers could not have acted with the requisite gross negligence to

support a claim for punitive damages even under the most lenient standard.

                                  CONCLUSION
      WHEREFORE, for the foregoing reasons, as well as those reasons

applicable to Wholesalers as outlined in the co-Defendants’ briefs, Wholesalers

respectfully request the dismissal of all claims against them. See Chart 10.

Dated: July 17, 2020                   Respectfully submitted,

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